









   MARY'S OPINION HEADING                                           









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-06-00073-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

TWELFTH COURT OF APPEALS
DISTRICT

&nbsp;

TYLER, TEXAS

&nbsp;

&nbsp;

ROBERT DARRELL GREENLEE,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL
FROM THE 241ST

APPELLANT

&nbsp;

V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL DISTRICT COURT OF

&nbsp;

THE STATE OF TEXAS,

APPELLEE&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH COUNTY, TEXAS

&nbsp;




 
  
  
 
 
  
  
 
 
  
 
 
  
  
 


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MEMORANDUM
OPINION

PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is being dismissed
for failure to comply with the Texas Rules of Appellate Procedure.&nbsp; See Tex.
R. App. P. 44.3.&nbsp; Appellant was
sentenced on January 18, 2006.&nbsp;
Thereafter, on January 19, 2006, Appellant filed a notice of appeal that
failed to contain the trial court’s certification as required by Texas Rule of
Appellate Procedure 25.2(d).&nbsp; The appeal
must be dismissed if a certification that shows the defendant has the right of
appeal has not been made part of the appellate record.&nbsp; Tex.
R. App. P. 25.2(d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On March 16, 2006, Appellant was notified pursuant to
Texas Rule of Appellate Procedure 37.2 that the notice of appeal was defective
for failure to comply with Rule 25.2(d).&nbsp;
Appellant was further notified that unless, on or before April 17, 2006,
the clerk’s record was amended to show the jurisdiction of this Court, the
appeal would be referred to the Court for dismissal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The deadline specified in the notice to Appellant has
passed, and Appellant has failed to correct comply with this Court’s
notice.&nbsp; Accordingly, the appeal is
dismissed. 

Opinion
delivered April 28, 2006.

Panel
consisted of Worthen, C.J., Griffith, J., and DeVasto, J.

&nbsp;

(DO NOT PUBLISH)





